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                                                                                    TRCE U.s.DISK couRï
                                                                                      OANOKE,VA
GaryKirchhoF,M .D.                                                                     FILED
                                                                                             '
189 M iddlecreek Court                                                                      .

M onetw VA 24121                                                                        0CT C8 2018
Telephone:(540)420-7541                                                       .=
                                                                                  X        .Dj LEX OLERK
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                                                                                                           .
Email:Kirchhoffg@aol.com                                                                            .

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                                                                                               vc
                          IN Tlœ UNITED STATESDISTRICT COURT
                          FOR TI'
                                lE W ESTERN DISTRICT OF V IRG m IA

Gm'
  y K irohhoff,M .D.,individuallypr/se,

                              PlaintiR
           VS.                                                Cu eNo.18 -
                                                                    '


UNITED STATES GO VERNM EN T,Departm entof
                                                                     O'
                                                                      ,ï%'Cu<% %q
theArmy,W alterReed NationalM ilitary M edical
Center,m et.Col.)PaulM ongan,M .D.,W illiam S.
Arimony,Esq-,Law OfficesofW illiam S.Arim ony,

                              Defendang.


                                         A. CO U LM NT

     COMESNOW theplaintil GaryKirohhos,M .D.,individuallyprose,and GlestllisComplaint
againstthe defendantsasfollows;


                                          B. PARTV S

         Plaintil Gary Kirchhol M .D.isan individualrepresentinghimselfwrosewithresidence
locatedat189M iddlecreekCoult M onetw Virginia24121.Plaintil GaryKirchhoë M .D.,is
hereinaherteferredttjasççDr.Kirchllofll''tçplaintiq ''orthesame.
         DefendantytheUnited StatesGovernment,isa governmententity with principleoffkeslocated

in W ashington,D .C. n e United StatesGovem mentm ay beserved by and tk ough theU .S.Attorney
General,JeFerson Sessions,athisprinciple place ofbusiness,theDepaM entofJustice,10thStreet&

ConstimtionAvenue,N.W .,W ashington,D.C.20530.Defendant theUnited StatesGovernment,is

hereinaAerreferredtoasthesame,tttheArmy,''<'defendanttsl''orQhegovernment''
         Defendant the Departmentofthe Army,isagovem mententity w ith principle om ceslocated in

W ashington,D.C.Defendant theDepartmentoftheArmy,may beservedbyand throughtheSecretary

                                                  l
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    oftheUnited StatesArm y,Dr.M ark T.Esper,athisprincipleplace ofbusiness,101Army Pentagon,

    W ashington,D.C.20310.Defendant theDepartmentoftheArmy,ishereinafterreferredto asthe
    same Qhegovernment''<ttheArmy,'''CABCM R''or Rdefendant''
            4. Defendant,W alterReedN ationalM ilitary M edicalCenter,BethesdaN avalHospital,isatri-

    servicem ilitarym edicalcentercom prised ofdoctors,health carew orkersand administratorsengaged in
    providing health careforpatientsw ith principleofficeslocated at8901Rockville Pike,6* Floor,Bldg.1,

    Bethesdw M myland 20889.D efendantW alterReedN ationalM ilitary M edicalCenter,may be served by

        and through theirStaF ludgeAdvocateCom manderM ichaelStutt,athisprimary placeofbusiness
        located at: StaF ludge Advocate'sOm ce,8901Rockville Pike,6* Floor,Bldg.1,Bethesda,M aryland

        20889.Defendall W alterReedNationalM ilitaryM edicalCenter,ishereinaAerreferredtoasthe same,
    '
        GW alterReeda''KW alterReed         C,''RW alterReed M edicalCenter,''ftW alterReed A rmy M edical

        Center,''KW RAM C#''QheArmy;''orçtdefendant.

            5. Defendnnt,(Ret.Col.)PaulMongan,M .D.,isaphysicianandretiredcolonelfrom theUnited
        StatesA rmy with residence located at:548 801A venueN orth,Jacksonville Beach,Florida 32250.

    Defendant(Ret.Col.)PaulMongan,M .D.,maybeservedathisresidenoelocatedat:548 8tbAw nuo
    North,JacltsonvilleBeach,Florida32250.Defendank(Ret.Col.)PaulMongan,M .D.,ishereinaAer
        referred to asthe same,ttcol.M ongan,''çtW alterReed#''ttthe Arm y'' orçtdefendant.''
             6. DefendantyAttorney W illinm S.Arimony,Esq-,isan attorney with primary om ceslocated at:

        Law OfficesofW illiam S.Arim ony,Old Town A lexandriw 100N .PittSt.,#200,A lexandriw Virginia
        22314. DefendantvAttom ey W illiam S.M mony,Esq.,m ay beserved summ onsathisprim o placeof

.       business: Law Om cesofW illiam S.Arim ony,Old T
                                                      .own A lexandriaa100N .PittSt.,#200,A lexandrië

        V irginia22314,Defendant Attom ey W illiam S.Arimony,Esq.,isherein aûerreferred to as:ççAttorney
        Arimonyy''<ttheArmy5''Rdefendanta''orthesam e.

             7. DefendantyLaw Om cesofW illiam S.Arimony,isa Iaw firm with primary officeslocated at:

        Old Town Alexandriw 100 N .PittSt.,#200,Alexandriw Virginia22314.D efendant Law Om cesof
        W illinm S.Arim ony,may be served summ onsthrough theirresidentagentW illiam S.Arim ony,Esq.at

                                                           2
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hisprim ary placeofbusiness: Iaaw Oë cesofW illiam S.Arimony,Old Town A lexandriw 100 N .Pitt

St.,#200,Alexnndriw V irginia 22314.D efendant Law OfficesofW illiam S.Arim ony,isherein aher

referredtoas:GAttom ey Arimonyy''RtheArmy,''Kunited Statesgovernmenty''cgovernment,Rdefendanty''
orthe ssme.


                            C. FACTS PERTM NING TO THE PARTV S

    8. Plainti/ Gary Kirohhof,M .D .,isan anesthesiologistwith over20yearsofexperience.He

worked assuch in the United StatesArmy active duty from 2007to 2011.
          PlaintiF Gary Kirchhoff,M .D .,isa United Statescitizen and aresidentofthestate ofVirginia.

     10. Defendant theUnitedStatesGovernment,consistsofaPresident hiscabinet Congressand
variouslocal,state and nationalactorsand entitiesengaged in authoritative controland governance ofthe

United StatesofAm erica. TheUnited StatesGovem m entishereinaRerreferred to asthesnm e,Gthe

Arm y'' or Qhe governm ent''

     11. Defendant theDepnrtmentoftheArmy,isan agencyunderthePresidentthatisengaged in
defendingth* United StatesofAm ericaagainstattaolçsby foreign countries.TheDepartm entofthe Army

isa branch ofm ilitary service undertheD epaA entofDefense.

     12. Jam esN .M attisistlw currentSecretary ofD efenseunderPresidentD onaldTrump.Atthetim e
ofthealleged actswhich occurred in thism atter,John M .M cH ugh wasthe Secretary oftheArmy under
PresidentBaraok O bam a.

     13. Defendant,W alterReed N ationalM ilitary M edicalCenten,istheArmy medicalcenterwhere

plaintiffDr.Kirchhof receivedhistwo-monthtrainingaqerhejoinedtheArmyReservesin2007.
     14. DefendantPaulM ongan,M .D.,isaretiredcolonelwiththeUnited StatesArmy whowasthe
comm anderoverplaintiff D r.Gary Kirchhol when he worked intheArmy RestrvesatW alterReed

M edicalCenterfrom 2007 to 2008.Col.PaulM ongan retired in August2008.

     15. Defendant Attorney W illiam S.Arimony,Esq.,isanattonwywiththeUnitedShtesAnny
Reserveswhorepresented plaintiF Dr.Gary K ircllhofffrom 2009 to 2011aRerhe Iosthism edical

privileges.
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    16. Defendant,Law O m ces ofW illiam S.Arim ony,Esqo isthe Iaw pffice ofdefendnntW illiam

S.Arimony who represented plaintiffDr.Kimhhofffrom 2009 to 2011.

    17. A llofthe defendantsare governmentactorsand/orentitiesofthe United States,engaged in the
imsinessofdefendingourcountryagainsthostileactionbyothercountries.Al1ofthedefendantshad
know ledge ofthism atterand wereinvolved in the collusion,conspiracy,fraud and unethicalgovem ment

conductthatensued.


                            D.FACTS PERTAN N G TO TITE CASE

     18. PlaintiffGaryKirchhofs M.D.,wasananesthesiologistinFloridafor18years.Thenhemoved
toV irginia in 2001.

     19. In2007,Dr.KirchhoF hadbeenmakingabout$250,000annuallyin hismedicalpractice.
     20. In April2007,hism otivationalstatementgiven to theArmy m entioned hisgoalofgiving

direction tothe conKtnntprocessofquality im provementatW alterReed NationalM ilitary M edicalCenter

(EXTIIRIT A).
      21. 17r.Kirchhoffwasgiven a com m ission ofLieutenantColonelin theArmy Reservesforhis
m any years in pm cticeasan anesthesiologist.Priorto this,he had been in theA irForceReservesduring

DesertStorm.

      22. Aqera shortinkodudion to W alterReed Army M edicalCenter,he wassentto om ceb% ic
training fortwo monthsin thesum merof2007.

      23. W hile hew asthere,heneverworea uniform and flew back and forth tow ork weekly in his

privateairplane.Otherofficerswerejealousofhim becauseofthis,anddidn'tlikeitthathewas
receiving acomm ission and bonusaAerhisschooling there.
      24. Foreightmonths,heshared an om cewith fivem ilito -trained doctorswho were m aking

$499,000annually underanIndian contractwiththegovernment.IncontrastaDr.KirchhoF wasmaking
abOut$200,000annually,butthreecolonelsincluding Col.M onganwhowasthecommanderoverhim
wereonlymaking$60,000-$80,000snnually.
      25. D uring thistim e,Dr.K irchhoF wasfrustrated thatthepractice ofmedicine atW alterReed
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wasarchaic,antiquatedandsubstandard.Asanexample,regionalanesthesia(blockk)werenotworking
                                                                                   l
on patientsand he mentioned thisto a colonelwho wasCol.M ongan'sgood buddy.:

     26. Dr.Kirchhof continued to reportthatthe Army wasteaching a medicalr
                                                                          1
                                                                           esidency program
thatwassubstandard and resulting in incom petently trained doctorsand offered to help improve this.

     27. Then whenD r.Kirchhoffret= ed to                  C in M ay 2008,w ithoutany priorincidentsor

evenanexplanation,hisprivilegetopracticemedicinewassuddenlysuspended bytheArmy.

      28. TheArmy m edicalom cersexcluded him in any discussion ofthks suspension,and therew as
no alternate option ofsuspension with re-education toreturn to practicing anesthesiology in theArmy.

      29. The allegatiopsby the Arm y againstDr.Kirchhoffwerem aliciously and falsely m adeby
defendantCol.PaulM ongaa and otherm embersofthe Army atW alterReed. ColonelM ongan wasthe

ringleaderin conspiring w ith the otherdefendantsto pause him to losehismedicalprivileges.

      30. Col.M ongan rdked from theArmy in August2008 and moved to Fiorida.

            Itbecame apparentto plaintiF thattheArmy intended to revokehismedicalprivilegesand

involuntarily discharge him from the service altogether.

      32. In June 2009,Dr.Kirchhoffcontacted defendantAttorney W illiam S.Arimony,Esq.w ith

the Law Om cesofW illiam S.Arim ony to representhim .H esigned aconkactw ith him and paid him

$50,000forrepresentationtotryandgainbackhismedicalprivileges.
      33. Atthattime,hetold Attorney Ariniony thathefelthew asbeing retaliated againstby the

ArmyandCol.Monganbecausetheywerejealousofhim andbecausehehadreportedthatmedical
trainzg atW alterReed wassubstandard.

           Attom eyArimonytoldplaintiffthqttheArmyBoardofCorrectionsforM ilitary Records
(ARCM R)wasnotinterestedinerrorsmadeby theArmy,only inthedeviation ofdueprocessasstted
in Army RegulationsChapter 10,40-68.Hetoldhim the Arm y makesm istakesandtheirerrorswere

unimportantin trying to gethisprivilegesback.
                                            ..

      35. Dr.Kirchhofftried to acquire acopy ofallofhism edicalrecordshim selfand through

Attorney M mony;howevèr,the Arm y refused to rele% e them .

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     36. AttorneyArimonytoldplaintifftotryandfileaFreedom ofInformationAct(FO1A)request
to acquire hism edicalrecordsto delay hiscmsefurtlwr.H isFOIA requestw msdenied twice.

     37. Ofthe tk ee allegadonsagainstDr.Kirchhoff,one involved an 85-yearold woman who was

broughtintotheemergencyroom.Dr.Kirchho/ wasaccusedofdelayinghersurge+ inanemergency
situation;how ever,hervitalsignsw ere nevertaken upon herarrivaland notuntilthenextday so her

casewasnotan emergency.
     38. n e 85-yearoId wom an laterundem entsurgery and recovered,so no hnrm wasdone.The

Arm y used hersihlntion to reu liateagainstDr.Kirchhoffand revoke hismedicalprivileges.

     39. Attom ey Arimony told plaintiffthatthe only way thathecould regain hism edicalprivileges

wasto file an appealofthedecision throughtheArmy board ofcorrections.

      40. On January 7,2009,theUnited StatesA rmy M edicalCom mand revoked Dr.K irchhoœ s

clinicalprivilegesbœsed on Rfailureto documentpre-anestheticevaluations,failure to exercisespund

professionaljudgmentinselectinganestheticagents,unnecessarydelayingemergencysurgery,
unprofessionalkandling ofsupervisory responsibilitiesforresidentphysicians,and disregard of

patientsafety concem s.''On June 3,2009,hisprivilegeswere pennanently revoked.
      41. W hen thisoccurred,plaintiffsnam ew asentered into theN ationalPràcutioner'sData Bank

(NPDB)thatidentifiedhim asguiltyofmalpracticeandinc6mpetentinthemedicalprofession.Asa
result,thestatesofV irginiaand W mshington w anted to prosecutehim .

      42. Attorney O im ony told plaintiffheshould hirea private practicelawyerin W ashington to
representhim .He and his 1aw Grm were conspirhzg with theotherdefendantsagainstDr.K irchhoffto

givehim inelective% sistanceofcounselanddragthematteroutfurthersotlpthewould m issany
                                                                            .




deadlinesforfilingalawsuitthroughanotherattorneyorbyhimseli-ifheeveradedprose.
      43. Asaway ofdm gging the matterout,Attom ey Arim ony told Dr.Kirchhoffthathe needed
to acquire lçttersby prominentphysiciansto supporthisclaim thathe practiced the properstandard of

carew ith regard tothe allegationsagainsthim .

      44. On September9,2009,Dr.M ichaelRoizen ofthe Cleveland Clinicwrotea letterin support

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ofDr.Kirchho& sstnndardofcareconcemingtheallegationsagainsthim (EXHIBITB).
       45. Inaddition,Dr.RichardKnplan,DivisionChiefofAnesthesiologyandFainMedicineat
NationalChildren'sM edicalCenterin W ashington,D.C.and nationally recognized .uthorand speakeron

thetopicofPediatricA nesthesiolor ,review ed the pediatriccase againstDr.K irchhol and confirmed

thathispracticeofmedicinewaswithinthestandardsofclinicalpractice(EXHIBIT C).
       46. Dr.PhillipBodenstab,aphysician ofmorethan40yearsandboardcertifledinthree
specialties,review edthe casesalleged by them ilitary physiciansassubstnndard,and confinned thatDr.

K irchhoœ sm edicalcare wasin factthe standsrd ofcare.

       47. Dr.John PederErickson,a board certified pediatric apesthesiologistand AssistnntProfessor

ofAnesGesiologyandCriticalCareattheUniversityofChicagowithmoretlmn30yearsexperience,
reviewed the m edicalrecordsofthepediatric case alleged by the Army physiciansto be substandard and
consrmed inwritingthatthepracticestandardsofDr.KirchhoF werewithintheaccepfablestandardsof

clinicalpractice(EXHIBIT D).
       48. Dr.K irchhoffw anted to settlethem atterthrough Attorney Arimony and hislaw firm ,and he

gave aIlofthe above lettersto him asevidence in hiscase. However,they were ignored by theA rmy.

       49. AttorneyArimonyandhislaw firm nevertoldjlaintiffatanytimethatpriortoGlinga
lawsuit hehadto file an adm inistrative claim undertheFederalTortClaim sActw ithin two yearsofthe

timehelesrnedabouthisinjuryordamage.Nordid they tellhim thataAeraresponse'bytheArmy,he
had six m onthstq fle afederallawsuitaAerthe settlementofferwasdenied.
 ,



        50. Itwasn'tuntilFebruary 6,2011thatAttonwy Arim ony and hislaw ftrm filed an appealfor

Dr.Kirchhoffw ith theA BCM R.

        51. PlaintiF had been telling Attom ey Arim ony multipletimesto Gle alawsuit.However,he and

hislaw firm conthmallymadeexcusesandkeptdraggingthematteron.
        52. ln October2011,Attorney Arim ony and hislaw '
                                                        lirm told plaintif thatGling alawsuitagainst

theA rmy would costtoo m uch,thathe didn'thave a basisforsuing them because they failed to follow

due process,and thathehad no dam agesand would notbeable to collectforlos'
                                                                         tw ages.
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      53. Attom ey Arimony and hisIaw frm were negligentin theirrepresentation ofDr.K irchhoF
and engaged in legalmalpractice.n ey breached theirduty owed to plaintiffin thism atter.

      54. A ftertwo yearsofgiving plaintiF ineFective % sistanceofcounseland hislegalmatter

goingnowhere,Dr.KirchhoffliredAttomey Arimony.Hethentriedtofmdanotherlawyerbutwas
unsuccessful.

      55. Dr.Kirchhoffbeganwritingletterstotryandgethismedicalprivilegesbackwhich had
been unfaidy taken away by the defendants.ln his lz-page Ietter,he included m edicalrecordsand the

fourlettersfrom prom inentphysicianjsupporting him wlzich amounted to 100 pages.

      56. From M arch 2009 to Augus't2017,he sentthispacketofinform ation to num erousagencies

and individuals,including:SenatorBarbara M ulkulski,SenatorM ark W nrner,the DepartmentofDefense,

Attomey GeneralEricHolder,PresideytBm ckObamw SenatorTim Kaine,Secretary ofDefenseAshton
Carter,theACLU,the FBI,theN ew York Tim es,the W ashington Postand others.However,noneof

them apparently read itand no action wasevertaken to assisthim .
      57. ln 20l1,Dr.K irchhoffw % given an involuntary discharge by the Army.Hehad been

receivingspecialtypay intheamotmtof$46,000mmuallyandanother$15,000annually,andtheArmy
wantedtorecoup$46,000ofthismoney asaresult.
      58. In orderto pay back thisamountathe Army began to draw 9om plaintiœ sSocialSecurity in

2013whenheturned 62.Theybegandeducting $256from hismonthlychecktopaythisbacktothem.
      59. A sa resultoftheunethicaland illegalpracticesofthedefendants in thismatter,Dr.

K irclzhoF wasunableto acquire employmentasan anesthesiologistfrom 2009 to 2013.He had no

income and wasforced lo draw SocialSecurity.

       60. Plaintiffhasbeen continually skessed forten yearssincehisassetswere being drained by
the defendnnts.Hissuffering includesanxiety attacks,depression and insom niaand he hœshad to seek

the help ofa psychiatristwho prescribed him two anti-depressants.
      61. The defendantsconspired againstDr.K irchhoffip thism atterandtheirintentwasto try and

drivehim outofmoneybyrevokinghismedicalprivilegessothathecouldnevergetanotherjob.

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      62. Since2013,Dr.Kirchhoffhasbeen receiving SocialSecurity intheamountof$1,700per
monthforatotalof$20,400snnually.
      63. Inthepastnineyears,Dr.Kirchhoffhaslostanestimated$2,394,000in incomemsaresult
ofthedefendsntq'retaliatory actsagainsthim .

      64. In April2018,Dr.K irchhoF contacted a non-profk organization thatoffersassistance in

legaleducation.n eytoldhim thatconspkacy form
      65. ItwmqatthistimethatDr.Kirchhoffwastold thathisrightshad been violated,especially his
rightto dueprocessoflaw underthe 5* Am endmenttotheU .S.Constim tion,and thathehad groundsto

suethe Army and Attom ey A rim ony pursuantto 42 USC 1983 DenialofRightsUnderColorofLaw.

      66. Up untilApril2018,Dr.KirchhoF wasunaware ofthe conspim cy and H ud-related crimes
which had violated hisrightsandthathe waswithin the statuteoflim itationsforsuing the defendants.

      67. n efailureoftheArmytofollow itsownrulesandregulations(RuIe10)andtheactsand
failurestoactbythedefendnnts'andotherstateactorstocontinuallykeepplaintifffrom acqukingjustice
denied him due processof1aw underthe Fifth Am endmentasapplied to the statesthrough the 14tb

AmendmentandwasadenialofrightsunderColorofLaw pursuantto 42USC 1983.
      68. PlaintiffsuFered severem entalanguish and bodily harm asaresultofthe defendants'acts

and failuresto act.Thisincluded:depression,anxiety,insom nia and caused him to drink heavily.

      69. Hisanger,frustrationand hostilityoverthelossofhisasjets,inabilitytofind workandhis

constantefoltstoacquirejusticeinthismatteralsocavsedhim tolosemanyfriends.
      70. ColonelM ongan spearheadedthe deviousplan by thedefendantsto deplete Dr.Kirchho/ of

hisassetsand preventhim from acquiring gainfulemployment.

      71. n e actionsofthe defendantsin thismatterwere willfuland wantonand w ith malicetoward

theplaintiF.n ey violated hisrightsundertheW histleblowerProtection Actof 1989.

      72. Plaintif hasexhausted alladministrativeeffortsinthism atteraqertrying to appealthe initial

decision tbrough M slawyerAttorney A rim ony and then writing to theArmy,govenlm entom cialsand

entitiesnumeroustimes.

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      73. PlaintiFisjustiEedinhisclaimsinvolvingdenialoffreedom ofspeechanddueprocessof
1aw pursuantto 42 U SC 1983. Dueto the outrageousgovernm entconductby thedefendants,ho cannot

acquire eFective assistance ofcounseland m ustproceedpro se in thismatter.

      74. Al1ofthedefendantsengagedinDenialofRightsUnderColorofLaw (42USC 1983)
toward plaintiffby violating hisrightto freedom ofspeech undertheFirstAm endmentand ensuring that
he did notreceive effectiveassistance ofcounselso asto deny him dueprocessof1aw undertheFiRh

AmendmenttotheU.S.Cpnstitution asappliedtothestatesthroughthe14thAmendment.
      75. Al1ofthe defendantsviolated Dr.K irchhoc srightsundertheFihh Am endmentby

prolongingthismatterwithoutgoodcausetodenyhim dueprocessoflaw andwiththeobjectiveof
depletinghisincom eand assetsasa retaliatory measure.

       76. Defendantsengaged in conspiracy,negligence,misrepresentation and concealmentw hich

caused plaintiffto rely to hisdetrimentso thathesuffered emotionaldistressand bodily hsrm .

            PlaintiF hasexhausted al1adm iniskative effortsand demandedthatdefendantstake action

to makeplaintiF wholeforhis losses.Defondantshaverefused plaintic sdemands.


                                      E. LAW & ANALYSIS

       D efendantsviolated numerousnauonallaws,statutes,ordinancesand regulations,including but

notIimitedto:DenialofRightsUnderColorofLaw (42 USC 1983).FirstAmendmentrighttofreedom
ofspeech and therightto be9eefrom retaliation,due processrightnotto bedeprived ofproperty under

theFiAhAmendment(asincorporatedtothestatesthroughthe14*nmendment)andrighttobeheard,
the W histleblowerProtection A ctof1989,m isrepresen/tioi concealm entand em otionaldistress.

DenialofRightsUnderColorofLaw 42 USC 1983 states:

      uEverypersonwho,undercolorofanystatute,ordinance,re/lation,custom orusage,ofany
       StateorTerritory,subjects,orcausestobesubjected,anycitlzenoftheUnitedStatesoranyether
      personwithinthejurisdlctionthereoftothedeprivationofm14rights,yrivilegesorimmunities
       securedbytheConstitutionandlaws,shallbe,liabletothepartylnjllredlnanacti
                                                                              onatIaw,suitin
                                                                              '
       equity,orotherproperproceeding forredress.'

      Thisappliestotheplaintiffthroughthesutesunderthe 14*Amendment sinceRallpersonsshall

notbedeprived of...1ife,liberty,orproperty,w ithoutdueprocessoflaw;nordeny to any person
                                                 10
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withinitsjurisdictiontheequalprotectionofthelaws.''U.S.Const-,Amdt.14,j1.
         Thefederalcourthasjurisdictioninthismatterunder28U.S.C.1331,sincetheplaintiffissuing
theUnited SltesArmy andsm liatesandbecauseConstimtionalrightswereviolated.Theovertacts
engaged in by the defendantsto deprive plaintiF ofhisassetsinclude,butare notlim ited to: pm icipating
in a deviousolan to revoke hism edicalprivilegesto depletehisincom e and assetsand trv to drive him
                                                                                          -   -    -




tnto povedw denv hisappeal.enterhisnameintothenationaldatabasesothathecouldn0taçcui.
                                                                                   rq
mainfulemplovm entasan anesthesiologist.ensure thathe wasgiven ineffectiveassistanceofcou-nsel
    -     -                                                                           -      --in
pursuina hisdispute.and eneaging in meetings.telephone calls.correspondence.Sexts.e-mails.and other     .




com municationsto illegallv deprivehim ofhispropertvand assets.T'
                                                                hese com municationswere the

overtacts used by the defendantsto deny plainti/ hisrightto beheard and influence hisattorney and

otherstate actorsto go alongwith theirretaliatory plan to violatehisrights.

          Thiscasewarrantsclaimsinvolvingbadfaith,manifestinjusticeandobstnzctionofjusticedueto
thedefendants'actsandfailurestoactintheirconducttowardDr.KirchhoE Accordingly,heisjustified
in alleging each ofthefollow ing claim sagainstthe defendantsand in his requestforpunitive damages.


                                       F. CAU SES OF ACH ON

                             1. ViolationsofPlalntiœ sFirstAm endm entRights
                      (asIncorporatedtotheStatesthroughthe14tbAmendmvnt)
        78. Plaintif incorporatesby reference paragraphs 1through 77 ofthis Com plaint.

        79. Under42 U SC 1983 ColorofLaw,the conductofthedefendantsto participatein a plan to

reuliateagainstplainte ihroughtherevocationofhismedicalprivilegescausedplaintif tobedeniedhis

freedom ofspeech and rightto befreefrom retaliation asacitizen oftheUnited Sttesand deprived him

ofhisrighttoIife,liberty,andpropeo withoutdueprocessofIaw underthçFirstAmendmentsecured
by the United StatesConstitution asappliedto the statesthrough the 14*A mendment.

        80. Under42 USC 1983 ColofofLaw,the conductofthe defendantsto participate in a plan to

retaliateagainstplaintiF through the revocation ofhism edicalprivilegesand the resulting effbcts

caused plaintiffasa citizen ofthe United Statesto bedeprived ofhisunalienable rightto Etlife,liberty,

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and thepursuitofhappiness''underthe Declaration ofIndependence.

    81. Actingunderthecolorofstatelaw @42USC 1983,thedefendants'participationinaplanto
retaliate againstplaintiffincluded influencingstateactorsto infringe onthe plaintiffs'civilrights
                                                                               Nh
protected by theFirstAm endmentrightto freedom ofspeech protected by the U.S.Constitution.

     82. Violationsoccurred in thefôrm ofselectiveretaliation when defendantsconspired to revoke

plaintil smedicalprivileges,causedhim tobehwoluntarilydischargedand hisnnmeregisteredina
nationaldatabank so thathecouldnotacquire gainfulem ploym entin hisohosen profession and lost

over$2,000,000 in incomeoveraGve-yearperiod.

      83. Actingtmderthecolorofstatelaw @42USC 1983,theaboveconductofthedefendants
deprived plaintiffofhisRrightto life,liberty and property''withoutdueprocessofIaw and equal
protectiop asapplied to thestatesthrough the I4thAmendment.

     84. n econductofthe defendantsin retaliating agninstplahztiF in theatbrementioned m anner

constitutesaviolation ofplaintiffsrightsundertheFirstAmendmenttotheUnited StatesConstitution,as
incorpomted to the Statesthrough the 14tbAm endmentand theW histleblowerProtection Actof1989.

      85. Thedefendantsowed plaintiF a duty underthe 1'tand 14tbAm endm entsand underthe notto

violatehisrigptsundertheUnitedStatesConstimtionascitizensoftheUnitedStatesorunderthe
W histleblow erProtection Actof 1989.

      86. D efendan'
                   tsbreached theirduty owed to plaintiE

      87. Thedefendants'conductconstiwtesliabilitytotheplaintiFforhisinjuries.
      88. Asaresultoftlw defendants'conductto deprive plaintiffofhisrightto freedom ofspeech,

hisunalienable Krightto life,liberty and pursuitofhappiness''underthe Declnmtién ofIndependence,his
rightnotto be deprived oflife,liberty orproperty w ithoutdueprocessofIaw asapplied to thestates
through the 14* Amendment,and infringing on plaintiFs'civilrightsprotected by theFirstAm endm ent

rightto geedom ofspeech underthe U.S.Constitution by causing stateaotorsto breach theirduty owed

theplaintiff,hascausedhim damaged inexcessof$250,000.

       WIIEREFORE,plaintiffrespeztfullyrequestsjudgmontsofthecourtagainsttheabovenamed

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defendnntsawmdingtoplaintifti)damagesinexcessof$250,000.00;(ii)pre-andpost-judgment
interest;(iii)costs,includingreasonableattofney'sfees,forthisaction;(iv)injunctiQereliefenjoiningthe
defendantsfrom continuingtheirharm;and(v)anyotherreliefdeemedjustandequihblebythecourt.

                       2. V iolationsofPlaintim sFifth Am endm entRights
                    (aslncorporated totheStatesthroughthe14thAmendment)
     89. PlaintiF incorporatesby referenceparavaphs1through 88ofthisComplaint.

     90. TheconductofthedefendantsindeprivingDr.GaryKirchhoFofhisproperty(incomeand
assets)withoutdueprocessoflaw constitutesaviolationofplaintiffsrightsundertheFiAhAmendment
to the United StatesConstiotion,msincop orated tothe Statesthrough the 14* Am endment.

     91. The conductofthedefe'
                             ndantsto deny Dr.Gary KirchhoF hisrightto be heard withoutdue

processof1aw constimtesaviolation ofplaintifpsrightsunderthe Fi/h Amendm entto theUnited States

Constitution,asincorporattdtothe StatesthroughtheIP Amendment.
     92. The defendantsowed Dr.Gary K ircllhoffa duty undertheFifth and 14thAmendm entsnotto

violate hisright.sundertheUnited StatesConstitution asa citizen ofthe United States.Theirovertactsof

fraud included denying him due processoflaw by intluencing hisattorney notto give him effective

assistmweofcounselfortwoyearsaqerhehadpaid$50,000 inattorney fees,failingtotelliim thathe
hadtofileadminiskativeclaim withintwoyearsoi-thetimehelearnedabouthisinjufyordamageorthat
afteraresponsebytheArmy orthathehadsixmonthstofileafederallawspitaftertàesettlementoffer
wasdenied,andcausinghisnametobeentered intotheNationalPractitioner'sDataBank(NPDB)
to deny him work thereaher.
      93. The conductofthe defendantsto participate in a conspiracy to deprive Dr.Gary Kirchhoffof

hisincome and a setsand hisrightto beheard wasan obviousinterferencewith attorney/clientprivilege.

      94. Plaintiffrelied in good faith thathisattom ey and hislaw firm ,the Army and govem m ent
officialswould actlegally and ethically in resolving hisdispute. The illegaland unethicalconductofthe

defendantsto drag hismatteroutand neverfile a law suitconstim tesdenialofplainti& sdue process
rightsunderth* Fiflh and 14* Amendm entsto the United StatesConstitution.

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                                                                                  !
      95. The defendantsbreached the duty owedD r.Gary K irchhoF and willfully deprived him ofhi:

property andhisrightto beheard.

      96. Asaresultofthe defendants'conductto depriveDr.Gary KirchhoF ofl
                                                                        hisdueprocess

rights,plaintiffhassuffereddamagesin excessof$250,000.00.

       WHEREFORE,plaintiffrespectfullyrequestsjudgmentsofthecourtagainsiaIIofthedkfendants
awardingtoplaintiffti)dnmagesinexcessof$250,000.00foreachdefendant;(ii)pre-andpost-
judgmentinterest;(iv)costs,includingreasonableattorneyfeesforthisaction;and(v)anyotherrelief
deemedjustandequitablebythecourt.

                                3. M isrepresentation and Concealm ent

     97. Plaintiffsincorporateby referenceparagraphs 1through 96 ofthisComplaint.
     98. The defendants'participation in aplan to give Dr.Gary K irchhoF ineffective assistzmce of

counsel,& ag hism atteroutfortwo years,failto Elea lawsuitso thatthe statute oflimitationswould be
                                                                                      '
 .

up,failto givehim properlegaladvice such mstelling him orassisting him in fling an administrative

claim withintwoyearsofthetimehelenrnedabouthisinjuryorfhmage,failtotellhim thatalera
response by the Army thathe had six m ontbsto 5le afederalIawquitaRerthe settlementoferwas

denied,and falsely entering hisnam e in theN ationalPmctitioner'sData Bank constitutesa knowing

m isrepresentation ofthetruth and concealmentofmaterialfactsto induceplaintiffto gctto hisdetrim ent.

     99. AtaI1relevanttim es,Dr.Gary K irchhoffwasw ithoutknowledge ormeansofknowingthe

related aspectsofhow to legally and properly handlellis dispute,butrelying on the defendant'strust
thathisright.
            swere notbeing violated.

     100. AtalIrelevanttim es,Dr.Gary Kirchhof believed and relied on thedefendantsthatthey were
acting in good faith,believing they wereproperly helping him to resolve his disputç so thathe could

tegain hism edicalprivileges.

     101. Ata11relevanttimes,Dr.Gary Kirchhoffwasunaware ofthe defendants'participation in a

plan to concealthetruth in rogard to revoking hism edicalprivileges,to silencepublicity andto causehim

distressasthey acted with willfulrendering ofim perfeotperlbrmàncein theirrespective positions.
                                                   14
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    102. Thedefenbants'participationinaplantorevokeDr.GaryKirchhoœsnledicalprivileges
waswiththeintentandfullknowledgethattheirconductwmssubstantiallycertaintoresultininj'
                                                                                    ury,his
inabilitytoacquix gainfulemploymentinhisprofession anddetrimenttotheplaintif
                                                                           ,
                                                                             .



    103. By pai cipating in theaboveplan,theconductofthe defendantsconstittztesconspiracy to
                                                                               )
ehgage in malpractice and m isrepresentDr.Gary Kirchhoffand cause him em otionaldiskess.
                                                                               !
    104. ThedefendantsviolatedDr.Gary KirchhoT srightto befairlyrepresentedinthismatter.

    105. Asa resultofthe abovennmed defendants'conspiratorialacts,plaintiF hasbeen damaged in

excessof $250,000.00.

    WHEREFORE,plaintiffsrespectfullyrequestjudgmentsofthecourtagainsttheabovenamed
defendantsawardingtoplaintifs(i)damagesinexcessof$250,000.00;(ii)pre-andpost-judo ent
interest;(iii)costs,includingreasonableattomey'sfees,forthisaction;and(iv)anyotherreliefdeemed
justandequitablebythecourt.
                                  4. Em otionalD istress

    106. Plaintiffincorporatesbyreferenceparavaphs1through 105 ofthisComplaint.
    107. The defendants'conductin participating in adeviousplanto revoke Dr.Gary Kirchhoffs

m edicalprivilegesto dem ive him ofhisincom e and assetsw asextrem eand outrageous.

     108. Atallrelevanttim es,thedefendants'participation inthe deviousplan wasintentionaland

W ith fullknowledgethattheirconductwassubstantially certain to resultin severe emètionaldistressand

bodily harm to Dr.Gary Kirchhoff.
                                                                                            *
                                                                                   .

     109. Thecondud ofthedefendantstope cipateinadeviousplantodepriveplaintiffofhis

income and assetsforover;veyearsw asin bad faith,and violatedthe dutiesofgood faith and fair
dealingtoward theplaintiF in thismatter.
     110. Due to the defendants'actsand failuresto act,plaintiffsuffered em otionaldiskess,mental

anguish and bodily harm .

           n e conductofthe defendantsconstim tesemotionaldistress.
     112. Asa resultofthe emotionaldistresscapsed by alldefendarits,plaintiffhmsbeen dam aged in

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'

    excessof$250,000.00.
                                                                                       @
         W HEREFORE,plaintiffrespectfullyrequestsjudgmentsofthecourtagainstallofthedefendants
    awardingtoplaintiffti)damagesinexcessof$250,000.00foreachdefendant;(ii)pye-andpostjudgment
                                       .                                               .
    interest;(iii)costs,hwludingreasonableattorneyfets, forthisaction;(iv)injundive)
                                                                                   pliefenjoiningall
    defendants9om continuingtheintentionalinflictionofemotionaldistress;(v)punitiyedamages;and(vi)
    anyotherreliefde/medjustandequitablebythecourt.

                                                 Respectfully subm itted,              .
                                                                                       ;.

                                                 By
                                                    Gary Kirc fll           iduallyprose
                                                    189 M idd c eek Court
                                                    M onEtw     24121
                                                    Telephone.(540)420-7541
                                                    Email:Kirchhoffg@ aol.com

                                      DEM AND FOR JIJRY TIUAL

               Plaintiffrespectfullyrequeststhattheissuesinthismatterbeheardbyajury.
                                                Respectfully submitted,'          ,

                                                By:              $
                                                    GaryKhc       fll lviduallyproJe
                                                    189 M id e reek Court
                                                    M onetw     24121                      .
                                                    Telegho :(540)420-7541                 !
                                                    Emall:Kirchhoffg@aol.com

                                       DESIGNATI9N OF TRIAL
                Plaintif designatesRoanoke,V irginia asthe location fortllctrialin thism atter.
                                                                     1
                                                Respectfull ubm i d,               '

                                                By:
                                                  Gary '      , dividuallyrm s
                                                  189 d Iecreek Court
                                                  M on   A 24121
                                                   Tele o e:(540)420-7541
                                                   Emai' irchhoffg@aol.com

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Case 7:18-cv-00489-GEC Document 1 Filed 10/09/18 Page 17 of 17 Pageid#: 17




                                  CERTV ICATE OF SERVICE
                                                                              1
      Ihereby certifytbatonthis ' dayofOctober,2018,acopy oftheaboveandforegoing
Complaintwasfiled with theUnited StatesD istiotCourtfortheW estern DistrictofV irginia and
depositedintheUnitedStatesMail,postageprepaidandproperlyaddressed,to: 1       .



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